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          6                          IN THE UNITED STATES DISTRICT COURT
          7                                  FOR THE DISTRICT OF ARIZONA
          8
          9    United States of America,                               CR 18-01256-TUC-CKJ (JR)
         10                              Plaintiff,                    PRELIMINARY ORDER OF
         11                     V.                                          FORFEITURE

         12    Joshua Joel Pratchard,
         13                              Defendant.
         14
         15           Based upon the defendant having pied guilty and having made an admission to facts
         16    in support of the plea, and the Court having considered those facts, it is
         17           ORDERED, ADJUDGED and DECREED that pursuant to Title 18, United States
         18    Code, Section 924( d), Title 26, United States Code, Section 5872 and Title 28, United
         19    States Code, Section 2461 (c), the defendant shall forfeit to the United States of America:
         20           •      9mm Luger caliber firearm, bearing markings "SD Tactical, Pacific Beach,
         21                  CA AR-9" SD071082 9mm'"'·
                                '        '            '       '
         22           •      300 Blackout caliber AR-type rifle, no serial number; having a barrel less
         23                  than 16 inches, that is, approximately 10-7/16 inches;
         24           •      Two (2) silencers;
         25           •      .45 caliber handgun, with markings "SD990809, SD Tactical Pacific Beach,
         26                  CA 1911 Ultra 45";
         27.          •      two-hundred sixty-one (261) rounds of .223/5.56 mm ammunition;
         28           •      seven-hundred seventy (770) rounds of7.62 x 35 mm ammunition;
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  1              •       one-hundred fourteen (114) rounds of .45 caliber ammunition;
  2              •       .45 caliber pistol, with markings "SD0 12916, SD Tactical Pacific Beach, CA,
  3                      1911 Al";
  4              •       .300 Blackout caliber AR-15 type, rifle with additional markings "300
  5                      Blackout"; having a barrel less than 16 inches, that is, approximately 10-5/8
  6                      inches;
  7              •       AR-15 type rifle, .223 caliber;
  8              •       fifty-one ( 51) rounds of .45 caliber ammunition;
  9              •       one-hundred nineteen (119) rounds of 7.62x 35mm ammunition; and
 10              •       one-hundred forty-nine (149) rounds of .223 caliber ammunition,
                                         ,                  .

 11     which constitutes property involved in the commission of the offenses for which the
 12     defendant pled guilty.
 13              The Court has determined, based on the defendant's plea of guilty, that the
 14     government has established the requisite nexus between such property and such offense.
 15              Pursuant to Rule 32:2(b)(6) of the Federal Rules of Criminal Procedure the United
· 16    States shall publish notice of this order.              Notice shall be published for at least 30
 17     consecutive days on an official internet government forfeiture site (www.forfeiture.gov).
 18     The notice ~hall describe the forfeited property, state the times ~nder the applicable statute
 19     when a petition contesting the forfeiture must be filed, and state the name and contact
 20     information for the government attorney to be served with the petition.
 21              The petition shall be for a hearing to adjudicate the validity of his/her alleged interest
22      in· the forfeited property. The petition shall be signed by the petitioner under penalty of
23      perjury and shall set forth the nature and extent of the petitioner's right, title or interest in
24      the forfeited property, the time and circumstances of the petitioner's acquisition of the
25      right, title and interest in the forfeited property, and any additioµal facts supporting the
 26     petitioner's claim and the relief sought, pursuant to Title 21, United States Code, Section
 27     853(n). The petition must be1 filed with the Clerk of the Court, United States District Court
 28     for the District of Arizona, 405 West Congress Street, Suite 1500, Tucson, Arizona 85701-

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     1    5010, and a copy served upon Assistant United States Attorney Beverly K. Anderson, 405
     2    West Congress Street, Suite 4800, Tucson, Arizona 85701-5040. _
     3              The United States may also, t9 the extentpracticable, provide direct written notice
     4    to any person known to have alleged an interest in the property that is the subject of the
     5    Preliminary Order of Forfeiture as a substitute for published noti~e as to those persons so
     6    notified.
     7            After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(l)(A) and
     8    before a hearing on the petition, discovery may be conducted in accordance with the
     9    Federal Rules of Civil Procedure upon a showing that" such discovery is necessary or
    10    desirable to resolve factual issues.
    11              Following the Court's disposition of all petitions filed, or if no such petitions are
    12    filed, following the expiration of the period specified above for the filing of such petitions,
    13    the United States shall have clear title to the property and may warrant good title to any
    14    subsequent purchaser or-transferee.
    15              Pursuant to Fed. R. Crim. P. 32.2(b)(4), this Preliminary Order of Forfeiture shall
    16    become final as to the defendant at the time of sentencing and shall_ be made part of the
    17    sentence and included in the.judgment. .
    18              The Clerk is hereby directed to send copies of this Order to defendant's counsel of
    19
    20
          record.                 SW
                    Dated this , · day of February, 2019.


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    23                                                                f Hon. JaJqueline M. Rateau
                                                                      \ Vnited ~tates Magistrate Ju_dge
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